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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SUSAN LYNN WILSON (THOMAS),               §
et al.,                                   §
                                          §
                           Plaintiffs,    §
                                          § Civil Action No. 3:18-CV-0854-D
VS.                                       §
                                          §
DEUTSCHE BANK TRUST                       §
COMPANY AMERICAS, AS                      §
TRUSTEE FOR RESIDENTIAL                   §
ACCREDIT LOANS, INC.,                     §
MORTGAGE ASSET-BACKED                     §
PASSTHROUGH CERTIFICATES,                 §
SERIES 2006-QS5, et al.,                  §
                                          §
                           Defendants.    §

                             MEMORANDUM OPINION
                                 AND ORDER

       In this removed action arising from an attempted foreclosure, defendants Deutsche

Bank Trust Company Americas, as Trustee for Residential Accredit Loans, Inc., Mortgage

Asset-backed Passthrough Certificates, Series 2006-QS5 (“Deutsche Bank”) and Ocwen

Loan Servicing, LLC (“Ocwen”) move to dismiss the claims of pro se plaintiffs Susan Lynn

Wilson (Thomas) and Tommy Thomas for failure to state a claim on which relief can be

granted. For the reasons that follow, the court grants the motion and grants the Thomases

leave to replead.

                                            I

       In 2006 the Thomases obtained a home equity loan from Wachovia Bank

(“Wachovia”) secured by the Thomases’ residence located on Berkshire Lane in Dallas.
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They became delinquent on the loan in 2008. The following year, the Thomases’ loan

servicer, Homecomings Financial, invited the Thomases to apply for a loan modification.

The Thomases applied, and a new loan servicer—GMAC Mortgage, LLC

(“GMAC”)—approved their application. Under the terms of the modification agreement, if

the Thomases successfully made three on-time payments in an agreed-upon reduced amount,

the reduced payment amount would become permanent. The Thomases allege that although

they upheld their end of the bargain, GMAC did not: GMAC returned the third on-time

payment, and Deutsche Bank (the assignee of the lien against the Thomases’ residence)

attempted to foreclose. Deutsche Bank nonsuited (i.e., voluntarily dismissed) the initial

foreclosure action in 2013, but then initiated a new foreclosure in 2015. The first amended

complaint1 does not specify how the 2015 foreclosure action concluded, but defendants

commenced the foreclosure process again in March 2017.

       The present case is not the first time the Thomases have challenged defendants’ power

to foreclose. In 2015 they filed a lawsuit in Texas state district court attempting on statute-

of-limitations grounds to block defendants from foreclosing. See Wilson v. Deutsche Bank

Tr. Co. Ams., No. 3:15-CV-3536-N, at *1 (N.D. Tex. June 29, 2016) (Godbey, J.).

Defendants removed the action to this court, and Judge Godbey dismissed the Thomases’



       1
       Although the Thomases’ most recent complaint is entitled “Plaintiffs[’] First
Amended Pleading,” it functions as a first amended complaint. The court will refer to it
accordingly. See Kirby v. Saxon Mortg. Servs., Inc., 2009 WL 2601943, at *1 & n.2 (N.D.
Tex. Aug. 21, 2009) (Fitzwater, C.J.) (referring to plaintiff’s “re-plead” as his amended
complaint).

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claims. Id. at 6.

       The Thomases filed the instant lawsuit—again in Texas state district court—after

submitting loss mitigation applications to their current loan servicer, Ocwen, in September

2016 and March 2017. According to the Thomases, even though Ocwen acknowledged

receipt of a completed application in April 2017, defendants continued to attempt to foreclose

on the Thomases’ residence. The Thomases seek damages and injunctive relief on a number

of grounds. They allege that defendants lack authority to foreclose because the chain of title

from Wachovia to Deutsche Bank is insufficiently proved and contains void transfers; the

assignments in the chain of title are fraudulent under Tex. Civ. Prac. & Rem. Code Ann. §

12.002 (West 2017); and defendants have in various ways violated the Dodd-Frank Wall

Street Reform and Consumer Protection Act (“Dodd-Frank”), Pub. L. No. 111-203, 124 Stat.

1376 (2010), the Gramm-Leach-Bliley Act (“GLBA”), Pub. L. No. 106-102, 113 Stat. 1338

(1999), and the Truth-in-Lending Act (“TILA”), Pub. L. No. 90-321, 82 Stat. 146 (1968).

Defendants removed the case to this court, and now move to dismiss on the grounds of res

judicata2 and failure to state a claim on which relief can be granted.


       2
        “[G]enerally a res judicata contention cannot be brought in a motion to dismiss; it
must be pleaded as an affirmative defense.” Test Masters Educ. Servs., Inc. v. Singh, 428
F.3d 559, 570 n.2 (5th Cir. 2005); see also Webb v. Town of St. Joseph, 560 Fed. Appx. 362,
366 n.4 (5th Cir. 2014) (per curiam) (“[I]t is not clear that the district court was even correct
to consider Defendants’ res judicata defense in the motion to dismiss.”). But “[d]ismissal
under [Fed. R. Civ. P. 12(b)(6)] on res judicata grounds is appropriate when the elements of
res judicata are apparent on the face of the pleadings.” Stone v. La. Dep’t of Revenue, 590
Fed. Appx. 332, 335-36 (5th Cir. 2014) (per curiam) (quoting Murry v. Gen. Servs. Admin.,
553 Fed. Appx. 362, 364 (5th Cir. 2014) (per curiam)). In practice, it seems that courts do
consider the res judicata defense at the Rule 12(b)(6) stage by taking judicial notice of the

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                                              II

       Under Fed. R. Civ. P. 12(b)(6), the court evaluates the pleadings by “accept[ing] ‘all

well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re

Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby

Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). To survive a

motion to dismiss, the Thomases must allege enough facts “to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id.; see also Twombly, 550 U.S. at 545 (“Factual allegations must be enough

to raise a right to relief above the speculative level[.]”). “[W]here the well-pleaded facts do


judgment in the prior lawsuit. See, e.g., Meyers v. Textron, Inc., 540 Fed. Appx. 408, 410
(5th Cir. 2013) (per curiam); Wicker v. Seterus, Inc., 2018 WL 4856771, at *7-8 (W.D. Tex.
Oct. 4, 2018); Crook v. Galaviz, 2015 WL 502305, at *4-5 (W.D. Tex. Feb. 5, 2015);
Millionway Int’l, Inc. v. Black Rapid, Inc., 2013 WL 6230366, at *2 (S.D. Tex. Dec. 2,
2013). This court has itself previously granted motions to dismiss on res judicata grounds.
See, e.g., Helms v. Wells Fargo Bank, N.A., 2013 WL 12188349, at *2 (N.D. Tex. Dec. 17,
2013) (Means, J.); Yeckel v. The Carl B. & Florence E. King Found. Retirement Pension
Plan & Welfare Benefit Program, 2006 WL 2434313, at *3-7 (N.D. Tex. Aug. 21, 2006)
(Fitzwater, J.). And at least one judge of this court has characterized the above-quoted
language from Test Masters as dicta. See Rocky Mountain Choppers, LLC v. Textron Fin.
Corp., 2012 WL 6004177, at *5 (N.D. Tex. Dec. 3, 2012) (McBryde, J.). The court therefore
could likely consider defendants’ res judicata argument as presented. But because the court
is dismissing the Thomases’ claims on other grounds, it need not consider whether their
action would be barred based on the affirmative defense of res judicata.

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not permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Iqbal, 556 U.S.

at 679 (quoting Rule 8(a)(2)). Furthermore, under Rule 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

Although “the pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’” it demands more than “labels and conclusions.” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 555). And “a formulaic recitation of the elements of a cause

of action will not do.” Id. (quoting Twombly, 550 U.S. at 555).

                                              III

       In their reply brief, defendants contend that the Thomases have failed to respond to

a number of defendants’ arguments for dismissal, and therefore have conceded them. They

cite the proposition that “[w]hen a party fails to pursue a claim or defense beyond the party’s

initial complaint, the claim is deemed abandoned or waived.” Roberts v. Overby-Seawell

Co., 2018 WL 1457306, at *11 (N.D. Tex. Mar. 23, 2018) (Lindsay, J.) (citing Black v.

Panola Sch. Dist., 461 F.3d 584, 588 n.1 (5th Cir. 2006); Keenan v. Tejeda, 290 F.3d 252,

262 (5th Cir. 2002)). The court expresses no opinion on whether, when plaintiffs completely

fail to address any of the arguments for dismissal of one of their claims, they have abandoned

that claim. But contrary to defendants’ characterization, the Thomases at least attempt to

address each of the issues identified in the “Statement of Issues to be Decided” section of

defendants’ motion to dismiss. Compare Ds. Mot. Dism. 1-2, with Ps. Resp. 9-13. The fact

that the Thomases do not always respond thoroughly or effectively does not evince an intent

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to abandon any claims—particularly given the Thomases’ status as pro se litigants. Cf.

Theriault v. Silber, 579 F.2d 302, 303 (5th Cir. 1978) (per curiam) (“[T]his court and others

have recognized that those unskilled in the law should not be held to strict standards of

pleading.”). The court will not dismiss any of the Thomases’ claims on the ground that they

have waived them due to insufficient briefing.

                                             IV

       The court next considers the sufficiency of the Thomases’ allegations on the merits.

                                              A

       The Thomases have not plausibly pleaded that defendants lack authority to foreclose

on the Thomases’ residence. The question turns on the validity of two assignments of the

Thomases’ note and deed of trust: one in 2008 from Mortgage Electronic Registration

Systems, Inc. (“MERS”) as “nominee” for Wachovia to Deutsche Bank “as trustee”; and one

in 2012 from Deutsche Bank “as trustee, by Residential Funding Company, LLC, FKA

Residential Funding Corporation, attorney-in-fact” to Deutsche Bank “as trustee for RALI

2006-QS5.” See 1st Am. Compl. Ex. B (capitalization omitted).

       The Thomases allege that the 2008 assignment is void for several reasons. First,

citing Deutsche Bank National Trust Co. v. Burke, 286 F.Supp.3d 802 (S.D. Tex. 2017), they

contend that the 2008 assignment is void because MERS executed the assignment document

in its capacity as “nominee” rather than as “beneficiary.” 1st Am. Compl. ¶ 6. But the Fifth

Circuit recently reversed the magistrate judge’s opinion in Burke, rejecting the argument that

this semantic difference has any impact on MERS’s authority to convey the note and deed

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of trust. See Deutsche Bank Nat’l Tr. Co. v. Burke, 902 F.3d 548, 549-50 (5th Cir. 2018) (per

curiam). This court, applying Fifth Circuit precedent, rejects this argument as well.

       The Thomases also allege that the 2008 assignment is fraudulent, and therefore void,

because it was “robo-signe[d]” by MERS employee Jeffrey Stephan (“Stephan”). 1st Am.

Compl. ¶ 6. But where there is a “signed, notarized assignment document that has also been

recorded by the county clerk,” the assignee can foreclose even if the assigning document was

robo-signed. See Wood v. Bank of Am., 2015 WL 2378958, at *7 (N.D. Tex. Apr. 23, 2015)

(Cureton, J.) (citing Martins v. BAC Home Loans Servicing, L.P., 722 F.3d 249, 252 (5th Cir.

2013)), rec. adopted, 2015 WL 2383330, at *1 (N.D. Tex. May 18, 2015) (O’Connor, J.).

The Thomases themselves have submitted a notarized, recorded assignment document as an

attachment to the first amended complaint. See 1st Am. Compl. Ex. B; see also Hawk v.

Deutsche Bank Nat’l Tr. Co., 2015 WL 8164779, at *1 n.1 (N.D. Tex. Dec. 8, 2015)

(Fitzwater, J.) (explaining that court may generally consider documents attached to complaint

in deciding Rule 12(b)(6) motion). Therefore, the Thomases’ robo-signing argument fails.

       In addition to the allegations in the first amended complaint, the Thomases argue in

their response brief that, because the 2008 assignment document does not include a MERS

identification number (“MIN”)—as required by a checklist taken from the “MERS Registry

System Handbook”—Stephan lacked authority to execute the document, rendering it invalid.

Ps. Resp. 3. Assuming arguendo that the court can consider this contention (and the

evidence in support of it) as presented, the court is not persuaded. The court has found no

instance of any federal court granting relief on a similar basis. And the sole authority the

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Thomases cite in support of their argument, Bank of New York v. Silverberg, 926 N.Y.S.2d

532 (N.Y. App. Div. 2011), is inapposite. The Thomases’ MIN theory thus has minimal, if

any, support.

       More important, even if Stephan did lack authority to assign the deed of trust and note

on behalf of MERS, the Thomases cannot challenge the assignment on this basis. A putative

agent’s lack of authority to assign a principal’s interest merely renders the assignment

voidable at the option of the principal, not void. See Reinagel v. Deutsche Bank Nat’l Tr.

Co., 735 F.3d 220, 226 (5th Cir. 2013). Under Texas law, “the obligors of a claim . . . may

not defend [against an assignee’s effort to enforce the obligation] on any ground which

renders the assignment voidable only.” Id. (alterations in original) (quoting Tri-Cities

Constr., Inc. v. Am. Nat’l Ins. Co., 523 S.W.2d 426, 430 (Tex. Civ. App. 1975, no writ)).

The omission of a MIN from the assignment documents therefore does not entitle the

Thomases to relief.

       As to the 2012 assignment, the Thomases allege that Jeannette Piccone, who executed

the assignment document, lacked authority to do so. Again, assuming this to be true, it

would only render the 2012 assignment voidable at the option of the assignor, not void. See

id. The Thomases cannot challenge the assignment on this basis.

       The Thomases also allege that “[n]o proof has been filed of the trust’s right to transfer

[p]roperty,” and that defendants have not “proved chain of title.” 1st Am. Compl. ¶¶ 5, 7.

These allegations fail for two reasons. First, they are too conclusory to credit in the context

of a Rule 12(b)(6) motion to dismiss—they are unsupported by facts showing how defendants

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have failed to prove chain of title. See Iqbal, 556 U.S. at 678. Second, these allegations

impermissibly attempt to shift the burden of proof to defendants. It is the Thomases who

seek relief, in the form of $1.25 million in damages, the removal of all liens from their

property, and an injunction against future foreclosure actions. They must prove that

defendants are liable; defendants need not prove that they are not liable.3 The Thomases

have thus failed to plausibly allege that defendants lack authority to foreclose because of

some defect in the chain of title.4

                                              B

       The Thomases maintain that the 2008 and 2012 assignments violate Tex. Civ. Prac.

& Rem. Code Ann. § 12.002, which “prohibits, in relevant part, presenting or using a

document with knowledge that it was a fraudulent lien or claim against real property, with

intent for the document to be given legal effect, and intent to cause financial injury.” Colton

v. U.S. Bank Nat’l Ass’n, 2013 WL 1934560, at *5 (N.D. Tex. May 10, 2013) (Fitzwater,

C.J.). They contend that the 2008 and 2012 assignments were fraudulent, and therefore



       3
         Similarly, the Thomases allege that, in a separate foreclosure action, defendants have
failed to plead affirmatively that they have authority to foreclose on the Thomases’ residence.
While this might (or might not) constitute a defense to foreclosure in that parallel action, it
does not provide this court a basis to award damages or injunctive relief to the Thomases, or
to clear all liens from their property.
       4
        In addition to their arguments regarding chain of title, the Thomases allege that
because defendants do not have the original, signed promissory note, they lack standing to
foreclose. This argument—colloquially known as the “show-me-the-note theory”—has been
rejected by the Fifth Circuit. See Martins, 722 F.3d at 253-54 (quoting Wells v. BAC Home
Loans Servicing, L.P., 2011 WL 2163987, at *2 (W.D. Tex. Apr. 26, 2011)).

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violate § 12.002, primarily because the 2008 assignment was robo-signed.

       Preliminarily, it is not clear that an assignment even qualifies as a “lien” for the

purposes of § 12.002. “[T]here is currently a split in authority among the federal district

courts in [the Fifth Circuit] that have considered the issue.” Golden v. Wells Fargo Bank,

N.A., 557 Fed. Appx. 323, 327 n.2 (5th Cir. 2014) (per curiam). Assuming arguendo that an

assignment can violate § 12.002, the Thomases have failed to adequately plead the requisite

intent to cause injury. They allege no facts that would enable the court to draw the

reasonable inference that the assignments were made for the purpose of harming them, or for

any reason other than ordinary business purposes. “A bank’s usage of an assignment for

business purposes ‘hardly equates to an argument that [the bank] intended to inflict financial

injury or mental anguish.’” Reece v. U.S. Bank Nat’l Ass’n, 762 F.3d 422, 424 (5th Cir.

2014) (per curiam) (quoting Golden, 557 Fed. Appx. at 327). The Thomases have therefore

failed to state a plausible claim under § 12.002.

                                              C

       The Thomases allege that defendants violated the GLBA by failing to safeguard their

personal financial information. Assuming this to be true, it does not necessarily follow that

the Thomases, as private individuals, can bring suit under this statute. “Like substantive

federal law itself, private rights of action to enforce federal law must be created by

Congress.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001) (citing Touche Ross & Co. v.

Redington, 442 U.S. 560, 578 (1979)). In other words, private plaintiffs cannot sue to



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enforce federal law unless Congress has expressly or impliedly authorized them to do so.5

“Federal courts have determined that . . . the GLBA, by [its] terms, [does] not create a private

right of action.” Lowe v. ViewPoint Bank, 972 F.Supp.2d 947, 954-55 (N.D. Tex. Sept. 18,

2013) (Fish, J.) (collecting cases). Therefore, the Thomases’ GLBA claim must be

dismissed.

                                                 D

       The Thomases allege that the 2009 loan modification offer from GMAC violated the

TILA because GMAC ultimately did not honor it.                 They also assert that “[o]ther

misrepresentations also occurred” from 2009 to the present, and that they were “subjected

to trickery, fraud,” and other unfair practices. 1st Am. Compl. ¶¶ 19, 21. These allegations

are insufficient to plead a plausible claim.

       Any TILA claim based on the 2009 loan modification offer is time-barred. Actions

for damages under the TILA must be brought within one year. See 15 U.S.C. § 1640(e).

Actions for rescission must be brought within three years. See id. § 1635(f). The Thomases

cannot state a claim under the TILA for alleged violations that occurred nine years ago.6 As


       5
         There are a few inapposite exceptions to this general proposition. For instance, the
Bivens doctrine permits actions for damages against federal officials for certain constitutional
violations. See generally Ziglar v. Abbasi, ___ U.S. ___, 137 S. Ct. 1843 (2017). And
plaintiffs seeking to enjoin state and federal officials from taking illegal actions can, by
default, invoke the inherent “equitable powers” of the federal courts. See Armstrong v.
Exceptional Child Ctr., Inc., ___ U.S. ___, 135 S. Ct. 1378, 1384-85 (2015).
       6
        The court recognizes that the statute of limitations, like res judicata, is an affirmative
defense. See Rule 8(c)(1). But because the viability of the defense is clear on the face of the
first amended complaint, the court may dismiss the Thomases’ claim based on this defense.

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to any subsequent violations that might have occurred, the first amended complaint is too

vague to state a plausible claim on which relief can be granted. Conclusory assertions like

“[o]ther misrepresentations also occurred during the nine year period” do not constitute

factual allegations giving rise to a plausible claim. See Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 555). The Thomases’ TILA claim therefore fails.

                                             E

       Although the Thomases do not expressly refer to the Real Estate Settlement

Procedures Act (“RESPA”), 12 U.S.C. § 2605(f), they make allegations that sound very

much like a RESPA claim: that defendants failed to “respond to a completed loss mitigation

package” in 2016 or 2017, and that they engaged in “[d]ual [t]racking” by continuing to

pursue foreclosure in 2017 while simultaneously reviewing the Thomases’ loss mitigation

application. 1st Am. Compl. ¶¶ 12-13, 17, 26. These actions, if substantiated, could

potentially violate 12 C.F.R. § 1024.41, which is privately enforceable via § 6(f) of RESPA.

See Ruiz v. PennyMac Loan Servs., LLC, 2018 WL 4772410, at *2 (N.D. Tex. Oct. 3, 2018)

(Fitzwater, J.). As pleaded, however, the Thomases’ allegations do not state a plausible

claim under RESPA.

       The regulation governing loss mitigation applications, 12 C.F.R. § 1024.41, specifies

deadlines for reviewing timely loss mitigation applications and requirements for notifying


See Jaso v. The Coca Cola Co., 435 Fed. Appx. 346, 351-52 (5th Cir. 2011) (per curiam).
In other words, the Thomases have “pleaded [themselves] out of court” with respect to their
TILA claim. Robinson v. Dallas Cty. Cmty. Coll. Dist., 2015 WL 1879798, at *1 n.2 (N.D.
Tex. Apr. 24, 2015) (Fitzwater, J.).

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borrowers in writing, within 30 days of receipt of a complete loss mitigation application,

which loss mitigation options, if any, a loan servicer will offer the borrower, or the specific

reasons for denying a complete loss mitigation application.               See 12 C.F.R. §

1024.41(c)(1)(ii), (d). Section 1024.41(g) generally prohibits servicers from engaging in

“dual tracking”—that is, pursuing foreclosure and reviewing a borrower’s loss mitigation

application at the same time. But § 1024.41(i) specifies that a servicer is “only required to

comply with the requirements of [§ 1024.41] for a single complete loss mitigation application

for a borrower’s mortgage loan account.”7

       Here, the Thomases do not plead that the loss mitigation application they submitted

in 2016 or 2017 was the first complete loss mitigation application they sent to Ocwen. For

this reason alone, the Thomases’ RESPA claim must be dismissed. See Ruiz, 2018 WL

4772410, at *2 (collecting cases).8


       7
          Section 1024.41(i) was amended effective October 2017. Ruiz, 2018 WL 4772410,
at *2 n.1. But the Thomases’ most recent loss mitigation application was complete as of
April 26, 2017. The amendment to § 1024.41(i) does not apply retroactively. See Smith v.
JPMorgan Chase Bank, N.A., 2018 WL 879276, at *2 n.1 (N.D. Tex. Jan. 23, 2018) (Toliver,
J.) (citing Gresham v. Wells Fargo Bank, N.A., 642 Fed. Appx. 355, 358 (5th Cir. 2016) (per
curiam)), rec. adopted, 2018 WL 837762, at *1 (N.D. Tex. Feb. 13, 2018) (Kinkeade, J.).
Therefore, the court will apply the pre-amended version of § 1024.41(i).
       8
       The Thomases’ 2009 loss mitigation application does not absolve Ocwen of its
responsibilities under RESPA. The plain text of the regulation states that “[a] servicer” need
only comply with the requirements of § 1024.41 once. 12 C.F.R. § 1024.41(i) (emphasis
added). The Thomases’ loan servicer in 2009 was GMAC, not Ocwen.

              A transferee servicer and a transferor servicer . . . are not the
              same servicer. Accordingly, a transferee servicer is required to
              comply with the applicable requirements of section 1024.41

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       Moreover, to state a claim under § 6(f), plaintiffs “must plead sufficient facts for the

court to draw the reasonable inference that [they] suffered damages resulting from [the

defendants’] violation of § 1024.41.” Ruiz, 2018 WL 4772410, at *3 (emphasis omitted)

(citing Law v. Ocwen Loan Servicing, L.L.C., 587 Fed. Appx. 790, 795 (5th Cir. 2014) (per

curiam)). The Thomases have not alleged that they suffered any particular damages traceable

to defendants’ supposed RESPA violations. Therefore, they have failed to state a plausible

claim under § 6(f).

                                               F

       The Thomases allege that defendants violated Dodd-Frank in various ways. For the

most part, the Thomases do not identify the specific sections of Dodd-Frank under which

they are suing.9 Defendants maintain that, by failing to cite specific statutory provisions, the

Thomases have not provided sufficient notice of what claims they are actually bringing. This




              upon receipt of a loss mitigation application from a borrower
              whose servicing the transferee servicer has obtained through a
              servicing transfer, even if the borrower previously received an
              evaluation of a complete loss mitigation application from the
              transferor servicer.

Consumer Financial Protection Bureau’s Official Staff Commentary on Regulation X, 2014
WL 2195779, at *13 (June 2018); see also Pierson v. Ocwen Loan Servicing, LLC, 2017 WL
10110296, at *3 (N.D. Tex. June 22, 2017) (Godbey, J.) (stating the same).
       9
        The Thomases do specifically invoke § 1413 of Dodd-Frank, which consumers may
assert as a defense to foreclosure. See 15 U.S.C. § 1640(k). This section applies when a
lender has violated 15 U.S.C. § 1639b(c)(1)-(2) or § 1639c(a). But the Thomases do not
allege any facts suggesting that defendants, or anyone else, violated the relevant statutes.
The court dismisses this claim.

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argument lacks force. See Johnson v. City of Shelby, ___ U.S. ___, 135 S. Ct. 346, 347

(2014) (per curiam) (reversing holding of court of appeals that plaintiffs seeking relief under

42 U.S.C. § 1983 must cite the statute expressly, and concluding that, even after Twombly

and Iqbal, plaintiffs need only plead the factual basis of their claims). The court therefore

declines to dismiss the Thomases’ Dodd-Frank claims on the ground that they did not cite

the legal basis for their claims.10

       Defendants also cite the proposition that, “with narrow exceptions . . . the Dodd-Frank

Act does not provide for a private right of action by borrowers against lending institutions.”

Ds. Mot. Dism. 10-11 (quoting Wilson v. Beneficial Mortg. Co., 2017 WL 489685, at *5

(M.D. Pa. Jan. 18, 2017)). They maintain that the Thomases’ failure to allege that their

claims are privately enforceable mandates that these claims be dismissed. Unlike the GLBA,

however, some provisions of Dodd-Frank are privately enforceable. For example, Dodd-

Frank amends the TILA to impose certain appraisal requirements on creditors. See Dodd-

Frank § 1471, 15 U.S.C. § 1639h. These requirements are enforceable via 15 U.S.C. §

1639h(e) and § 1640(a).11 The Thomases’ failure to specifically allege the existence of a

private right of action that authorizes their claims does not mean they have failed to plead a


       10
         For the purposes of repleading, however, the Thomases should bear in mind that
citing specific statutory provisions would make it easier for the court to determine whether
they are entitled to relief.
       11
        Indeed, it appears that the Thomases are attempting to state a claim under § 1639h.
They allege that defendants used “a non-licensed appraiser from Altisource in Missouri
instead of a licensed Texas appraiser as required by law” when valuing the Thomases’
residence in 2016. 1st Am. Compl. ¶ 11.

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plausible claim. See Johnson, 135 S. Ct. at 347. The court therefore declines to grant

defendants’ motion to dismiss on this ground.12

                                              G

       In summary, the court has so far dismissed the following claims: (1) defendants lack

authority to foreclose on the Thomases’ residence; (2) the 2008 and 2012 assignments violate

Tex. Civ. Prac. & Rem. Code Ann. § 12.002; (3) defendants violated the GLBA; (4)

defendants violated the TILA; (5) defendants violated RESPA and its implementing

regulations; (6) the Thomases are entitled to foreclosure protection under 15 U.S.C. §

1640(k); (7) defendants failed to comply with a state district court order; and (8) defendants

are liable for a lack of accountability. See 1st Am. Compl. ¶¶ 5-10, 12-15, 17, 19-26, 28, 31.

                                              V

       Defendants also move to dismiss on the basis that the Thomases fail in their first

amended complaint to distinguish between Deutsche Bank and Ocwen. They contend that

“[w]here a complaint simply lumps defendants together, as is the case here, and fails to

distinguish their conduct,” the complaint does not provide notice of what each defendant did

wrong. Ds. Mot. Dism. 6; see Chyba v. EMC Mortg. Corp., 450 Fed. Appx. 404, 406 (5th



       12
          In addition to the above, the Thomases seek to hold defendants liable for a “Lack of
Accountability.” 1st Am. Compl. ¶¶ 22-25. But a lack of accountability is not a cognizable
claim. The Thomases also allege that defendants failed to comply with a state district court
order to send a representative who had decisionmaking authority to a mediation. While this
allegation might (or might not) have been grounds to seek a contempt order from the state
court, it does not enable this court to grant the Thomases the relief they seek. These claims
are therefore dismissed.

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Cir. 2011) (per curiam) (“Plaintiff’s vague allegations of malfeasance by a global group of

unspecified ‘defendants’—without alleging any particular acts by the present

Defendant—provided an additional reason to dismiss the suit.”); Bittick v. JPMorgan Chase

Bank, NA, 2012 WL 1372126, at *7 (N.D. Tex. Apr. 18, 2012) (McBryde, J.) (“[P]laintiff

does not distinguish between Chase and Imperial when making his TILA allegations. It is

not possible for the court to discern from the Complaint which allegations are directed at

which defendant.”); Washington v. U.S. Dep’t of Hous. & Urban Dev., 953 F. Supp. 762, 770

(N.D. Tex. 1996) (Solis, J.) (“Plaintiff may not rely on such global allegations that

Defendants, as a group, committed such acts or omissions.”); see also Jackson v. Ocwen

Loan Servicing, LLC, 2018 WL 1001859, at *4-5 (N.D. Tex. Jan. 8, 2018) (Horan, J.) (“As

to Ms. Jackson’s remaining claims, the undersigned concludes that Ms. Jackson’s allegations

against ‘Defendants’ are too general to state a claim.”), rec. adopted, 2018 WL 949226, at

*1 (N.D. Tex. Feb. 16, 2018) (Fish, J.).

       The court does not read the foregoing cases or other pertinent authorities to suggest

that there is a per se rule that forecloses a pleader from attributing actions to an

undifferentiated group of “defendants.”13 For example, where more than one defendant

allegedly committed the same act together, a complaint is not defective for the reason that

it asserts that all defendants committed that same act, without identifying each individual



       13
         The court recognizes that group pleading is not permitted under the Private
Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4. See, e.g., Southland Sec. Corp.
v. INSpire Ins. Sols., Inc., 365 F.3d 353, 365 (5th Cir. 2004).

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defendant. But many of the acts alleged in the first amended complaint inherently could have

been committed by only one defendant. Where the first amended complaint attributes such

an act to both defendants, it fails to plead a plausible claim against either defendant in

particular.

       Turning to the claims that have not yet been dismissed, the court finds them to be

deficient because they ascribe singular acts to both defendants, or are otherwise too vague

or internally contradictory to provide notice. See 1st Am. Compl. ¶ 11 (“Defendants are in

[v]iolation of Dodd Frank . . . by using a non-licensed appraiser[.]”); id. ¶ 16 (“Defendants

are in [v]iolation of Dodd Frank to respond to a request for a sales price[.]”); id. ¶ 18

(“Defendants . . . prohibit[ed] [the Thomases] from speaking to relationship managers in the

United States by referring them back to offshore relationship managers[.]”);14 id. ¶ 29


       14
          This allegation appears to simultaneously attribute the same action to both
defendants and solely to Ocwen. It is thus internally contradictory as well as
vague—providing an additional reason to dismiss the claim. While a complaint may allege
theories and claims in the alternative, see Rule 8(d), the Thomases do not indicate that they
are attempting to do so here. See CapStar Bank v. Perry, 2018 WL 3389712, at *12 (M.D.
Tenn. July 12, 2018) (“[W]hile pleading alternative legal theories is appropriate, Perry does
not have the prerogative to plead conflicting facts[.]”); In re Online Travel Co. (OTC) Hotel
Booking Antitrust Litig., 2014 WL 5460450, at *5 (N.D. Tex. Oct. 27, 2014) (Boyle, J.)
(concluding that where plaintiff’s alleged timeline contradicted itself, allegations failed to
suggest that defendants had agreed to fix prices); cf. Samsung Elecs. Am., Inc. v. Yang Kun
“Michael” Chung, 2018 WL 1532383, at *7 (N.D. Tex. Mar. 29, 2018) (Fitzwater, J.)
(“Under Rule 8(d), a party should not assert inconsistent or alternative allegations ‘unless,
after a reasonable inquiry, the pleader legitimately is in doubt about the factual background
or legal theories supporting the claims or defenses.’” (quoting 5 Charles A. Wright & Arthur
R. Miller, Federal Practice and Procedure § 1285, at 741 (3d ed. 2004))); Qatalys, Inc. v.
Mountain Med. Techs., Inc., 2015 WL 1401220, at *5 (N.D. Tex. Mar. 27, 2015) (Lindsay,
J.) (“When a plaintiff’s allegations in a complaint directly contradict language in a contract
that formed the basis of the lawsuit, a court need not give credence to those allegations.”);

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(“Violation of Dodd Frank placing [the Thomases] in expensive forced place insurance[.]”);15

id. ¶ 30 (“Violation of Dodd Frank for the ballooning of the original note of $684,000, paid

to $671,000. Defendants now claim the amount owed is approximately $1.3 million[.]”).

These remaining claims must therefore be dismissed.

                                                VI

       Although the court is dismissing the Thomases’ action, it also grants them leave to

replead some, but not all, of their claims. It is the practice of this court to offer litigants “at

least one opportunity to cure pleading deficiencies before dismissing a case, unless it is clear

that the defects are incurable[.]” See In re Am. Airlines, Inc., Privacy Litig., 370 F.Supp.2d

552, 567-68 (N.D. Tex. 2005) (Fitzwater, J.) (emphasis added) (quoting Great Plains Tr. Co.

v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002)).

       Some of the deficiencies identified above are incurable. The following claims are

therefore dismissed with prejudice: that defendants lack authority to foreclose on the basis

of the arguments discussed supra in § IV(A); that defendants violated the GLBA; that the

2009 loan modification offer violated the TILA; that defendants should be held liable for a

“lack of accountability”; and that defendants should be held liable for violating a Texas state

district court order. As to all other claims, the court grants the Thomases leave to replead.


Hayward v. Chase Home Fin., LLC, 2011 WL 2881298, at *7 (N.D. Tex. July 18, 2011)
(Fish, J.) (granting motion for more definite statement because, inter alia, plaintiff’s
complaint “contain[ed] apparent contradictions.”).
       15
        Paragraph 29 contains no subject at all. It is impossible to tell whether the Thomases
are accusing either defendant, both of them, or someone else entirely.

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      Subject to the foregoing limitations, the Thomases may file a second amended

complaint within 28 days of the date this memorandum opinion and order is filed. Once the

second amended complaint is filed, defendants may move anew to dismiss if they have

grounds to do so.

                                       *     *      *

      For the reasons stated, the court grants defendants’ motion to dismiss and grants the

Thomases leave to replead.

      SO ORDERED.

      January 10, 2019.



                                           _________________________________
                                           SIDNEY A. FITZWATER
                                           SENIOR JUDGE




                                           - 20 -
